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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

JESSICA STAHLMAN, JEREMY                      Case No. ____________________
SESSLER, and RONALD SMITH,
individually and on behalf of all others
similarly situated,                           JURY TRIAL DEMANDED

                                Plaintiffs,

                    v.

FORD MOTOR COMPANY, a
Delaware Limited Liability Company,

                               Defendant.


                         CLASS ACTION COMPLAINT
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       Plaintiffs file this lawsuit individually and on behalf of proposed nationwide

and statewide classes. Plaintiffs allege the following based on personal knowledge

as to their own acts and experiences and, as to all other matters, based on the

investigation of counsel:

                             I.     INTRODUCTION

       1.    The most important duty of a car manufacturer is to provide

consumers with a safe car. A second related duty is to promptly warn consumers

and fix or replace a car where the manufacturer learns of a defect that implicates

serious safety issues.

       2.    Ford Motor Company (“Ford”) breached these fundamental duties by

selling Ford Expeditions and Lincoln Navigators that were dangerously defective

and prone to catching fire, including while driving, while parked but on, and while

parked and off. Then, though Ford knew or should have known of the fire risk

prior to launching the vehicles, it did nothing to warn owners and lessees until very

recently. And to this day, Ford has yet to provide a remedy for the defect or even

suggest when it might be able to offer a remedy.

       3.    Model year 2021 Ford Expedition and Lincoln Navigator sport utility

vehicles (the “Fire Defect Vehicles”)1 contain a defect in the engine compartment



   1
     So far, Ford has recalled only model year 2021 Expeditions and Navigators.
Plaintiffs’ counsel continues to investigate whether other model years contain the


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that can cause spontaneous fire while driving, while parked but on, and while

parked and off (the “Spontaneous Fire Defect”).

      4.     The Spontaneous Fire Defect exposes putative class members to an

unreasonable risk of accident, injury, death, or property damage if their vehicle

catches fire while in operation or, perhaps more commonly, spontaneously ignites

while the vehicle is parked at the class member’s home, on a public street, or in a

public parking lot. The Spontaneous Fire Defect also exposes passengers, other

drivers on the road, neighbors, owners of other cars parked near the Fire Defect

Vehicles, and other bystanders to an unreasonable risk of accident, injury, death,

and property damage.

      5.     The catastrophic fire risk is the direct result of a defect that was

known or should have been known to Ford and is still unremedied by Ford. Not

only did Ford fail to disclose the Spontaneous Fire Defect to consumers both

before and after their purchases of the premium-priced model year 2021 Ford

Expeditions and Lincoln Navigators, but it also misrepresented the vehicles’

safety, reliability, functionality, and quality by this omission. Ford also omitted the

consequences, including the serious safety hazards and monetary harm caused by

the Spontaneous Fire Defect—e.g., damage to a home and injury or death to



same defect and should, therefore, be recalled. Plaintiffs may update the definition
of Fire Defect Vehicles to include additional model years.


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persons inhabiting that home should the Fire Defect Vehicle spontaneously ignite

while the vehicle is parked adjacent to the house or in an attached garage.

      6.     To date, there have been sixteen fires in a vehicle population of just

39,000, a number that Ford acknowledges is statistically significant. The fires

have all occurred in the engine compartment of the Fire Defect Vehicles, but Ford

has yet to identify the root cause of these fires or the engine compartment

component that is igniting.

      7.     Instead, Ford is merely advising owners and lessees to park the Fire

Defect Vehicles away from homes and property. A vehicle that cannot be driven

without an unreasonable fire risk and cannot be parked or stored in or near the

owner’s residence is not fit for its ordinary purpose. Ford does not tell Fire Defect

Vehicle owners and lessees just what constitutes a “safe” distance from a vehicle

erupting in fire or explain what owners should do with their vehicles if they have

no such place to park their vehicles. This places an unfair burden on class members

who are unable to safely operate vehicles they paid a premium for and are unable

to park in their garage (and may have to park quite far away from their homes to

park away from other vehicles).

      8.     Many putative class members, like Plaintiff Smith, are not even able

to comply with Ford’s directive to park their Fire Defect Vehicles a “safe” distance

from structures or other vehicles near their residences, let alone at places they



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might wish to drive their vehicles. Still others, justifiably not wanting to bear the

risk of a catastrophic fire, may be forced to sell their Fire Defect Vehicles at a loss

because of Ford’s conduct and inability or unwillingness to provide any sort of fix.

The Hobson’s choice foisted on consumers by Ford is nothing short of outrageous.

      9.     Ford knew or should have known about the Spontaneous Fire Defect

before the Fire Defect Vehicles went to market, and certainly knew well-before it

issued its recall, as evidenced by: (1) the rigorous pre-launch testing of the Fire

Defect Vehicles; (2) the direct and public reports of fires in sixteen Fire Defect

Vehicles; and (3) Ford’s own investigation of fires in the Fire Defect Vehicles.

      10.    Ford offers no actual remedy for the Spontaneous Fire Defect and

offers no reimbursement to Fire Defect Vehicle owners and lessees for out-of-

pocket expenses, loss of use, and loss of value. Because no repair is available,

putative class members are left without a safely operable vehicle for an unknown

and potentially lengthy period.

      11.    To add further insult to injury, rather than do the right thing and

globally offer every consumer a buy back of their Fire Defect Vehicle at a fair

price—e.g., the Blue Book value on the day before the recall was announced—or

at least offer to provide a comparable loaner or large rental SUV while storing the

dangerous Fire Defect Vehicles until such time as it is able to repair them, Ford has

done nothing of the sort.



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      12.    Because of Ford’s omissions and misrepresentations regarding the

Spontaneous Fire Defect and failure to act more quickly in disclosing and

providing a remedy, it has violated state consumer protection acts, been unjustly

enriched, and breached implied warranties of merchantability. Plaintiffs and other

owners and lessees of the Fire Defect Vehicles have been injured in fact, incurred

damages, and suffered ascertainable losses in money and property. Had Plaintiffs

and the putative class members known of the Spontaneous Fire Defect, then they

would either not have purchased or leased those vehicles or would have paid

substantially less for them. Fires in the Fire Defect Vehicles also necessitate

expensive repairs, car rentals, car payments, towing charges, property damage,

time off work, loss of use, and other miscellaneous costs.

      13.    Plaintiffs bring this class action to redress Ford’s misconduct.

Plaintiffs seek damages and a repair under the Magnuson-Moss Warranty Act, 15

U.S.C. §§ 23-1-2312, state consumer protection acts, state implied warranty acts,

and unjust enrichment at common law.

                              II.    JURISDICTION

      14.    This Court has original jurisdiction over this lawsuit under the Class

Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d)(2) and (6), because Plaintiffs

and Defendant are citizens of different states; there are more than 100 members of

the Class and each Subclass (as defined herein); the aggregate amount in



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controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs;

and class members reside across the United States. The citizenship of each party is

described further below in the “Parties” section.

       15.    This Court has personal jurisdiction over the Defendant by virtue of

its transactions and business conducted in this judicial district, and because

Defendant is headquartered in Michigan. Defendant has transacted and done

business, and violated statutory and common law, in the State of Michigan and in

this judicial district.

                                   III.   VENUE

       16.    Venue is proper in this judicial district under 28 U.S.C. § 1391

because Defendant transacts substantial business and is headquartered in this

district.

                                  IV.     PARTIES

A.     Plaintiffs

       1.     Jessica Stahlman (Florida)

       17.    Plaintiff and proposed class representative Jessica Stahlman

(“Plaintiff” for purposes of this paragraph) is a resident and citizen of Mount Dora,

Florida. Plaintiff purchased a 2021 Ford Expedition in March 2021 from Mullinax

Ford in Apopka, Florida. Plaintiff’s Ford Expedition is a Fire Defect Vehicle

equipped with the Spontaneous Fire Defect. Plaintiff and her husband purchased

this vehicle through their jointly owned and managed dry-cleaning company. The


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vehicle was purchased primarily for use by company employees on delivery routes.

Through exposure and interaction with Ford, Plaintiff was aware of Ford’s uniform

and pervasive marketing messages of dependability and safety; these were primary

reasons Plaintiff purchased the Fire Defect Vehicle. However, despite touting the

safety and dependability of the Fire Defect Vehicles, at no point did Ford or its

agents, dealers, or other representatives disclose the Spontaneous Fire Defect to

Plaintiff. Since notice of the recall, Plaintiff completely ceased all use or operation

of the Fire Defect Vehicle due to the dangers resulting from the Spontaneous Fire

Defect. She cannot risk her safety, or that of her employees, by driving it, and

continues to pay for and insure a vehicle she’s owned for only a year while it sits

unused. Plaintiff also cannot park the vehicle off or away from her business

property for insurance purposes, so the dangerous Fire Defect Vehicle must sit

parked behind her dry-cleaning business. Plaintiff would not have purchased the

vehicle had Plaintiff known about the Spontaneous Fire Defect.

      2.     Jeremy Sessler (New York)

      18.    Plaintiff and proposed class representative Jeremy Sessler (“Plaintiff”

for purposes of this paragraph) is a resident and citizen of Seaford, New York.

Plaintiff and his wife leased a 2021 Lincoln Navigator in March 2021 from Hassett

Ford in Wantagh, New York. Plaintiff’s Lincoln Navigator is a Fire Defect Vehicle

equipped with the Spontaneous Fire Defect. Plaintiff leased it as the primary



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vehicle for his wife and three young children. Through exposure and interaction

with Ford, Plaintiff was aware of Ford’s uniform and pervasive marketing

messages of dependability, safety, and the vehicle’s benefits for use by families;

these were primary reasons Plaintiff purchased the Fire Defect Vehicle. However,

despite touting the safety, dependability, and family-friendly aspect of the Fire

Defect Vehicles, at no point did Ford or its agents, dealers, or other representatives

disclose the Spontaneous Fire Defect to Plaintiff. Plaintiff is now concerned about

driving the Fire Defect Vehicle due to the dangers resulting from the Spontaneous

Fire Defect. Plaintiff has three young children that all ride in car seats and

extracting them all safely and quickly in the event of an engine fire would be

difficult if not impossible. In addition, it is inconvenient and unsafe for Plaintiff to

park the Fire Defect Vehicle on the street—under Ford’s instruction to park outside

and away from structures and other vehicles—with three small children that must

be loaded into the vehicle daily. Plaintiff would not have purchased the vehicle had

Plaintiff known about the Spontaneous Fire Defect.

      3.     Ronald (“RJ”) Smith (North Carolina)

      19.    Plaintiff and proposed class representative RJ Smith (“Plaintiff” for

purposes of this paragraph) is a resident and citizen of Raleigh, North Carolina.

Plaintiff and his wife leased a 2021 Lincoln Navigator in July 2021 from Leith,

Inc. in Raleigh, North Carolina. Plaintiff’s Lincoln Navigator is a Fire Defect



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Vehicle equipped with the Spontaneous Fire Defect. Plaintiff leased it as the

primary vehicle for his wife and three young children. Through exposure and

interaction with Ford, Plaintiff was aware of Ford’s uniform and pervasive

marketing messages of dependability, safety, and the vehicle’s benefits for use by

families; these were primary reasons Plaintiff purchased the Fire Defect Vehicle.

However, despite touting the safety, dependability, and family-friendly aspect of

the Fire Defect Vehicles, at no point did Ford or its agents, dealers, or other

representatives disclose the Spontaneous Fire Defect to Plaintiff. Plaintiff is now

concerned about driving the Fire Defect Vehicle due to the dangers resulting from

the Spontaneous Fire Defect. Plaintiff’s three small children must always ride in

car seats and extracting them safely and quickly in the event of an engine fire

would be difficult if not impossible. In addition, it is not feasible for Plaintiff to

park the Fire Defect Vehicle outside his garage and away from structures and other

vehicles as Ford has instructed because there are no such reasonably accessible

spaces near Plaintiff’s home. Plaintiff’s driveway is steeply sloped and not suitable

or safe to park or access the vehicle on it. Parking the Fire Defect Vehicle outside

also risks damaging the vehicle given the surrounding trees and climate. Moreover,

if Plaintiff switches vehicles with his wife, he will incur more than double the fuel

costs to commute to work. Plaintiff would not have purchased the vehicle had

Plaintiff known about the Spontaneous Fire Defect.



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B.    Defendant

      20.    Defendant Ford Motor Company (“Ford”) is a Delaware limited

liability company organized and existing under the laws of the State of Delaware.

Ford’s principal place of business and headquarters is One American Road,

Dearborn, Michigan 48126.

      21.    Ford is a motor vehicle manufacturer and a licensed distributor of

new, previously untitled Ford and Lincoln brand motor vehicles. The Ford brand is

one of the “Big Three” American automobile brands. Lincoln is Ford’s luxury

automobile brand. Ford engages in commerce by distributing and selling new and

used passenger cars and motor vehicles under its Ford and Lincoln brands.

      22.    Ford, through its various entities, designs, manufactures, markets,

distributes, and sells automobiles throughout the U.S. and worldwide. Ford and its

agents designed and manufactured the Fire Defect Vehicles. Ford also developed

and disseminated the owner’s manuals and warranty booklets, advertisements,

brochures, and other promotional materials relating to the Fire Defect Vehicles,

with the intent that such documents be purposely distributed throughout all fifty

states. Ford is engaged in interstate commerce, selling vehicles through its network

in every state of the United States.

      23.    As further detailed below, Ford- and Lincoln-authorized automobile

dealerships act as Ford’s agents in selling automobiles under the Ford and Lincoln



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brand names and disseminating vehicle information provided by Ford to

customers. At all relevant times, Ford’s dealerships served as its agents for motor

vehicle repairs and warranty issues because they performed repairs, replacements,

and adjustments covered by Ford’s manufacturer warranty under the contracts

between Ford and its nearly 10,000 authorized dealerships worldwide.

                          V.    FACTUAL ALLEGATIONS

A.        Ford marketed the Fire Defect Vehicles as family-friendly, functional,
          safe, and reliable, and knew these attributes were material to
          consumers.

          24.   Both the Ford and Lincoln Fire Defect Vehicles are marketed to

consumers as family-friendly, functional, safe, reliable vehicles, and Ford knew

these qualities were material to consumers in marketing them in this manner. These

qualities were in fact material to Plaintiffs.

          25.   In the sales brochure for the 2021 Ford Expedition, Ford focuses on

families from the start because it knew this attribute was material to Plaintiffs and

putative class members, saying “Whether you choose Expedition or Expedition

MAX – which is nearly a foot longer and can carry 16.9 more cu. ft. of gear –

these spacious vehicles are designed with you and your family in mind.”

(Emphasis added.) And, “For years, we’ve put our hearts and souls into building a

better big for your family and your adventures.”2


     2
         See Exhibit 1, MY 2021 Ford Expedition brochure, at 2.


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          26.   Ford also touts the Expedition’s accommodation of child seats, saying

the following: “And, with available 2nd-row power-folding tip-and-slide seats, you

can keep a child seat secured in any section of the seat, while simply sliding it

forward to allow passengers to get into the 3rd row.”3




          27.   Ford also sells consumers on the size and functionality of the

Expedition—another significant material feature for families—noting the

Expedition’s extra cargo room and larger rear door opening for “easier entry and

exit.”4




   3
       See id. at 4.
   4
       See id. at 5.


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         28.    In addition to the Expedition’s suitability for families, Ford also

stressed the alleged safety of the vehicles, as Ford knew this was a material

attribute for consumers. Promising consumers can “[c]ommand the road with

confidence” in the Expedition, Ford touted various safety features like pre-collision

assist, blind spot alerts, lane-keeping system, and rear-view cameras in the Fire

Defect Vehicles.5




   5
       See id. at 7.


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        29.   Ford also markets the power and reliability of the Expedition and its

engine, saying, “The 2021 Ford Expedition doesn’t just get you there, it gets you

here, there and virtually everywhere you want to go thanks to the power of its

EcoBoost engine and up to 400 horsepower and 480 lb.-ft. of torque, and “delivers

consistent engine power for a great drive every time.”6




        30.   In the sales brochure for the 2021 Lincoln Navigator, Ford again

opens with a focus on the vehicle’s suitability and function for families, including

photos of children with the vehicle, and saying, “Whatever adventures the day

holds for you and your family, the 2021 Lincoln Navigator makes sure they start

with a warm embrace” and “Celebrate all of life’s travels together in Navigator.”7

Ford markets the Navigator as family-friendly because it knows this attribute is

and was material to Plaintiffs and putative class members.




   6
       See id. at 8.
   7
       See Exhibit 2, MY 2021 Lincoln Navigator brochure at 2.


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         31.    Ford also touts the passenger seat and row sizes, cargo room, and

other functional aspects of the Navigator—again, material to and sought after by

consumers with children, including Plaintiffs—saying, “From epic road trips to

everyday errands, your family deserves the luxurious comfort of Navigator.”8

Plaintiff Sessler leased his Fire Defect Vehicle in large part because of its size and

reliability for frequent trips upstate with his family of five.




         32.    Ford markets the Navigator’s towing abilities—another quality

important to many families—saying, “Navigator makes it easy to enrich your

adventures with family and friends.”9



   8
       See id. at 4.
   9
       See id. at 7.


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         33.     Because safety is material to Plaintiffs and putative class members,

Ford tells consumers they can “journey with confidence” in the Navigator due to

its “extensive collection of standard and available driver-assist technologies

utiliz[ing] a network of sensors and sophisticated cameras to offer you support

during many scenarios.”10




         34.    Ford further highlights the Navigator’s engine performance and

reliability, saying “Navigator also reinforces your calm confidence with best-in-

class 450 horsepower and 510 lb.-ft. of torque produced by its Twin-Turbocharged

3.5-liter V6 engine.”11 The Navigator’s reliability is material and critical for

purchasers and lessees, including Plaintiffs.




   10
        See id. at 5.
   11
        See id. at 6.


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        35.   Consumers paid a premium price for the Fire Defect Vehicles. The

Manufacturer’s Suggested Retail Price (“MSRP”) for the 2021 Ford Expedition

starts at $51,320 for the XL Fleet base-level trim and goes up to $78,07012, and the

MSRP for the 2021 Lincoln Navigator starts at $78,400 for the base-level trim and

goes up to a whopping $103,550.13

        36.   Plaintiffs and putative class members paid the premium prices

commanded by the Fire Defect Vehicles because of these qualities touted by Ford.




   12
      See Exhibit 3, 2021 Ford Expedition MSRP and Invoice Price,
EDMUNDS.COM, https://www.edmunds.com/ford/expedition/2021/msrp/ (last
visited June 7, 2022).
   13
      See Exhibit 4, 2021 Lincoln Navigator MSRP and Invoice Price,
EDMUNDS.COM, https://www.edmunds.com/lincoln/navigator/2021/msrp/ (last
visited June 7, 2022).


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B.        Ford’s Vehicle Warranties

          37.   Ford’s New Vehicle Limited Warranty for the model year 2021 Ford

Expedition provides “bumper-to-bumper” coverage for 3 years/36,000 miles,

whichever comes first.14 Ford’s Powertrain Warranty for the Expedition provides

coverage for 5 years/60,000 miles, whichever comes first.15 On information and

belief, this warranty coverage includes defects like the Spontaneous Fire Defect in

the Fire Defect Vehicles.

          38.   Ford’s New Vehicle Limited Warranty for the model year 2021

Lincoln Navigator provides “bumper-to-bumper” coverage for 4 years/50,000

miles, whichever comes first.16 Ford’s powertrain warranty for the Navigator also

protects certain components against defects in factory-supplied materials or

workmanship for 6 years or 70,000, whichever comes first.17 On information and

belief, this warranty coverage includes defects like the Spontaneous Fire Defect in

the Fire Defect Vehicles.




     14
      See Exhibit 1, MY 2021 Ford Expedition brochure, at 15.
     15
      See id.
   16
      See Exhibit 5, Linsay Thomas and Noelle Talmon, Lincoln’s Factory
Warranty Largely Equals Its Competitors, THE DRIVE.COM,
https://www.thedrive.com/reviews/29443/lincoln-warranty (last accessed June 7,
2022).
   17
      See id.


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          39.   Because the Fire Defect Vehicles are all model year 2021 vehicles

sold or leased to putative class members in the fourth quarter of 2020 or later,18

virtually all Fire Defect Vehicles—if not all of them, including Plaintiffs’

vehicles—are still covered under Ford’s new vehicle and powertrain warranties.

C.        The Spontaneous Fire Defect

          40.   As Ford now admits in a May 17, 2022 safety recall notification to the

National Highway Traffic Safety Administration (“NHTSA”), a defect exists in the

engine compartment of the Fire Defect Vehicles that can cause them to

spontaneously burst into flames while in operation, while parked and running, or

while parked and off.19

          41.   Ford further admits that the Fired Defect Vehicles “pose a risk of

underhood fire, including while the vehicle is parked and off.”20




     18
       See Exhibit 6, Brett Foote, 2021 Ford Expedition Order and Production
Dates Revealed, FORD AUTHORITY.COM, July 15, 2020,
https://fordauthority.com/2020/07/2021-ford-expedition-order-and-production-
dates-revealed/ (last accessed June 7, 2022); see Exhibit 7, Brett Foote, 2021
Lincoln Navigator Order and Production Dates Revealed, FORD AUTHORITY.COM,
July 15, 2020, https://fordauthority.com/2020/07/2021-lincoln-navigator-order-
and-production-dates-revealed/ (last accessed June 7, 2022).
    19
       See Exhibit 8, May 18, 2022 NHTSA letter to Ford,
https://static.nhtsa.gov/odi/rcl/2022/RCAK-22V346-9658.pdf (last accessed June
7, 2022).
    20
       See Exhibit 9, May 17, 2022 Part 573 Safety Recall Report,
https://static.nhtsa.gov/odi/rcl/2022/RCLRPT-22V346-3365.PDF (last accessed
June 7, 2022).


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        42.   Ford’s recall, number 22V-346, affects 32,711 model year 2021 Ford

Expeditions and 6,302 model year 2021 Lincoln Navigators all built between

December 1, 2020, and April 30, 2021.21

        43.   As of May 12, 2022, Ford reports sixteen (16) underhood fires in the

Fire Defect Vehicles, including one that resulted in a burn injury. Twelve (12) of

these fire incidents occurred while the vehicle was parked and off, one (1) occurred

while the vehicle was parked and on, and three (3) occurred while driving, with the

occupants reporting a burning smell and smoke from the front passenger engine

compartment.22

        44.   Ford admits that sixteen engine compartment fires from a vehicle

population of roughly 39,000, all produced in a four-month period, is “statistically

significant.”23 (Emphasis added.)

        45.   Ford notes that fourteen (14) of the fires were in rental vehicles from

various companies and locations, which suggests that the Spontaneous Fire Defect

may be related to mileage or use, thereby increasing the risk to Plaintiffs and the

Class if they continue to use their vehicles. Regardless, Ford has not instructed

consumers to stop driving their vehicles.


   21
       See id.
   22
       See Exhibit 10, Chronology of Defect/Noncompliance Determination,
https://static.nhtsa.gov/odi/rcl/2022/RMISC-22V346-1971.pdf (last accessed June
7, 2022).
    23
       See id.


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      46.       Critically, Ford has yet to identify, or even speculate, as to the root

cause of these fires, only noting that the fires originated from the passenger side

rear engine compartment vicinity.

      47.       Ford also cannot offer any fix or remedy for Plaintiffs and the Class,

or even a timeline for a remedy. Rather, it simply instructs them to park their

vehicles outside and away from structures while it continues to investigate the

defect.

      48.       On information and belief, Ford failed to adequately research, design,

test, and manufacture the Fire Defect Vehicles before warranting, advertising,

promoting, marketing, and selling the Fire Defect Vehicles as suitable and safe for

use in an intended and reasonably foreseeable manner.

      49.       On information and belief, Ford knew or should have know the Fire

Defect Vehicles contained the Spontaneous Fire Defect and should have warned or

disclosed this fact to Plaintiffs and putative class members before selling or leasing

the vehicles.

      50.       So far, Ford has only recalled the model year 2021 Ford Expedition

and Lincoln Navigator, but it continues to sell these and other model years.

      51.       Accordingly, Plaintiffs’ counsel continues to investigate whether

additional model years of the Expedition and Navigator are also plagued with the

Spontaneous Fire Defect.



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D.        Ford knew or should have known of the Spontaneous Fire Defect before
          it disclosed the Defect to Plaintiffs.

          52.   On information and belief, Ford knew or should have known about the

Spontaneous Fire Defect before the Fire Defect Vehicles went to market, and it

certainly knew well-before it issued its recall, as evidenced by: (1) the rigorous

pre-launch testing of the Fire Defect Vehicles; (2) the direct and public reports of

fires in sixteen Fire Defect Vehicles; and (3) Ford’s own investigation of fires in

the Fire Defect Vehicles.

          1.    Ford’s durability testing should have uncovered the Spontaneous
                Fire Defect.

          53.   Ford claims to conduct comprehensive and rigorous testing on all its

vehicles, saying “Ford’s comprehensive lineup of testing facilities around the

world puts vehicles through everything from the extreme, to the everyday, to

ensure that only world-class vehicles roll off the production line.”24

          54.   According to Ford, at their facilities across Thailand, India, Australia,

the Middle East and China, “Ford vehicles and components are ‘shaken, rattled and

rolled’ in a variety of tests, some conducted in temperatures ranging from an arctic




     24
      See Exhibit 11, Testing in the Extremes: How Ford’s Multiple Testing
Facilities Push Vehicles to the Limit, October 7, 2019, FORD.COM,
https://media.ford.com/content/fordmedia/img/me/en/news/2019/10/07/testing-in-
the-extremes--how-fords-multiple-testing-facilities-p.html (last accessed June 7,
2022).


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minus 40 degrees Celsius, to desert-scorching heat of over 50 degrees Celsius.”25

These tests include stresses on the engines, moving parts, suspension, and

electrical components.26

        55.     Ford even puts its vehicles through a Total Durability Cycle,

described by Ford as “sped-up evaluation runs around the clock, day and night, to

simulate 10 years, or 240,000km, of severe customer usage in just a few weeks.”27

“Gravel roads, cobblestones, pot-holes, curbs and water baths feature in this

grueling test,” and “Just for good measure, environmental factors like dust, water

and mud are thrown in, while dynamometers simulate towing heavy loads in traffic

and over mountain passes.”28

        56.     On information and belief, the Fire Defect Vehicles were put through

similar durability testing or designed and built in accordance with the findings of

such durability testing.

        57.     Based on such durability testing, Ford should have uncovered the

Spontaneous Fire Defect before the Fire Defect Vehicles were sold to Plaintiffs

and the putative class members.




   25
      See id.
   26
      See id.
   27
      See id.
   28
      See id.


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      2.     Ford knew about the Spontaneous Fire Defect from reports of
             fires in sixteen Fire Defect Vehicles and its own investigation.

      58.    According to its recall chronology, Ford opened an investigation into

the fires on March 24, 2022. By that time, Ford reports knowledge of nine (9) fire

reports, including fires while driving and while parked and off.

      59.    Ford’s investigation continued up until the May 2022 recall and

uncovered seven (7) more fires in the Fire Defect Vehicles. Ford’s investigation

consisted of reviews and site visits with the rental car companies where some of

the fires occurred, vehicle inspections, supplier reviews, product design reviews,

and field and connection data analyses. Despite this, Ford still has no fix.

      60.    Ford did not disclose the dates of the sixteen fires in the Fire Defect

Vehicles, but on information and belief, Ford learned of at least some of these fires

on or before the March 24, 2022 investigation launch.

      61.    All vehicle manufacturers, including Ford, also routinely monitor and

analyze NHTSA complaints to determine whether vehicles or components should

be recalled due to safety concerns. Thus, on information and belief, Ford has

knowledge of all NHTSA complaints filed concerning the vehicles it manufactures,

including the Fire Defect Vehicles. See TREAD Act, Pub. L. No. 106-414, 114

Stat. 1800 (2000).

      62.    Ford also receives complaints directly from consumers and its dealers,

and thus, on information and belief, has knowledge of all complaints lodged to it or


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its agents regarding the Fire Defect Vehicles and the Spontaneous Fire Defect. At a

minimum, Ford received complaints from terrified and angry owners and lessees

such as Plaintiffs Sessler and Smith after learning about the Spontaneous Fire

Defect.

      63.    However, Ford is not yet offering any remedy for the Defect. Instead,

Ford advises the hapless Fire Defect Vehicle owners and lessees to park them away

from their homes and other property. Ford does not explain what constitutes a safe

distance from a vehicle that spontaneously burst into flames, or what owners

should do with their vehicles if they have no such place to park them, or what

owners who rely on these vehicles to transport their families daily can do to avoid

a fire while driving. And Ford is not globally offering to buy back the vehicles or

even provide loaner or rental vehicles until it can fix the problem.

      64.    Faced with this Hobson’s choice foisted upon them by Ford, owners

and lessees of the Fire Defect Vehicles predictably and reasonably have made a

variety of choices. Some can comply with Ford’s instructions and have distant

parking spaces they can access at great inconvenience and risk to their vehicles and

family of parking in distant and/or unsafe locations. Many, like Plaintiff Smith, are

simply unable to find a “safe” place to park their Fire Defect Vehicles at home,

work, and/or anywhere else they need to take their vehicles and have no choice but




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to park them in unsafe locations. Others have elected to limit or cease their use of

the vehicle altogether.

      65.    On information and belief, some owners—justified in their

unwillingness to play Russian roulette with their vehicles—are selling or trading

them in at greatly reduced prices because of Ford’s conduct.

      66.    All owners and lessees of the Fire Defect Vehicles have suffered

ascertainable loss.

E.    There is an agency relationship between Ford and Ford dealerships.

      67.    On information and belief, the manufacturer Ford has impliedly or

expressly acknowledged that Ford-authorized dealerships are its sales agents, the

dealers have accepted that undertaking, Ford can control authorized Ford dealers,

and Ford acts as the principal in that relationship, as is shown by the following:

      i.     Ford can terminate the relationship with its dealers at will.

      ii.    The relationships are indefinite.

      iii.   Ford is in the business of selling vehicles as are its dealers.

      iv.    Ford provides tools and resources to help Ford dealers sell
             vehicles.

      v.     Ford supervises its dealers regularly.

      vi.    Without Ford, the relevant Ford dealers would not exist.

      vii.   Ford requires the following of its dealers.




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           1.    Reporting of sales;

           2.    Computer network connection with Ford;

           3.    Training of dealers’ sales and technical personnel;

           4.    Use of Ford-supplied computer software;

           5.    Participation in Ford’s training programs;

           6.    Establishment and maintenance of service departments in Ford
                 dealerships;

           7.    Certification of Ford pre-owned vehicles;

           8.    Reporting to Ford with respect to the car delivery, including
                 reporting Plaintiffs’ names, addresses, preferred titles, primary
                 and business phone numbers, e-mail addresses, vehicle VIN
                 numbers, delivery date, type of sale, lease/finance terms,
                 factory incentive coding, if applicable, vehicles’ odometer
                 readings, extended service contract sale designations, if any,
                 and names of delivering dealership employees; and

           9.    Displaying Ford logos on signs, literature, products, and
                 brochures within Ford dealerships.

     viii. Dealerships bind Ford with respect to:

           1.    Warranty repairs on the vehicles the dealers sell; and

           2.    Issuing service contracts administered by Ford.

     ix.   Ford further exercises control over its dealers with respect to:

           1.    Financial incentives given to Ford dealer employees;

           2.    Locations of dealers;

           3.    Testing and certification of dealership personnel to ensure
                 compliance with Ford’s policies and procedures; and




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            4.    Customer satisfaction surveys, pursuant to which Ford
                  allocates the number of Ford cars to each dealer, thereby
                  directly controlling dealership profits.

     x.     Ford dealers sell Ford vehicles on Ford’s behalf, pursuant to a
            “floor plan,” and Ford does not receive payment for its cars until
            the dealerships sell them.

     xi.    Dealerships bear Ford’s brand names, use Ford’s logos in
            advertising and on warranty repair orders, post Ford- and
            Lincoln-branded signs for the public to see, and enjoy a
            franchise to sell Ford’s products, including the Fire Defect
            Vehicles.

     xii.   Ford requires Ford dealers to follow the rules and policies of
            Ford in conducting all aspects of dealer business, including the
            delivery of Ford’s warranties described herein, and the servicing
            of defective vehicles such as the Fire Defect Vehicles.

     xiii. Ford requires its dealers to post Ford’s brand names, logos, and
           signs at dealer locations, including dealer service departments,
           and to identify themselves and to the public as authorized Ford
           dealers and servicing outlets for Ford cars.

     xiv.   Ford requires its dealers to use service and repair forms
            containing Ford’s brand names and logos.

     xv.    Ford requires Ford dealers to perform Ford’s warranty diagnoses
            and repairs, and to do the diagnoses and repairs according to the
            procedures and policies set forth in writing by Ford.

     xvi.   Ford requires Ford and Lincoln dealers to use parts and tools
            either provided by Ford, or approved by Ford, and to inform
            Ford when dealers discover that unauthorized parts have been
            installed on one of Ford’s vehicles.

     xvii. Ford requires dealers’ service and repair employees to be trained
           by Ford in the methods of repair of Ford. and Lincoln-branded
           vehicles.




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      xviii. Ford audits Ford dealerships’ sales and service departments and
             directly contacts the customers of said dealers to determine their
             level of satisfaction with the sale and repair services provided by
             the dealers; dealers are then granted financial incentives or
             reprimanded depending on the level of satisfaction.

      xix.    Ford requires its dealers to provide Ford with monthly
              statements and records pertaining, in part, to dealers’ sales and
              servicing of Ford vehicles.

      xx.     Ford provides technical service bulletins and messages to its
              dealers detailing chronic defects present in product lines, and
              repair procedures to be followed for chronic defects.

      xxi.    Ford provides its dealers with specially trained service and repair
              consultants with whom dealers are required by Ford to consult
              when dealers are unable to correct a vehicle defect on their own.

      xxii. Ford requires Ford and Lincoln vehicle owners to go to
            authorized Ford and Lincoln dealers to obtain servicing under
            Ford warranties.

      xxiii. Ford dealers are required to notify Ford whenever a car is sold or
             put into warranty service.

             VI.   TOLLING OF THE STATUTE OF LIMITATIONS

A.    Discovery Rule Tolling

      68.     Because Ford omitted the existence of the Spontaneous Fire Defect,

Class members had no way of knowing about the unreasonable fire risk of the Fire

Defect Vehicles.

      69.     Within the period of any applicable statutes of limitation, Plaintiffs

and members of the proposed Classes could not have discovered through the




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exercise of reasonable diligence that Ford was omitting the Defect complained of

herein.

      70.    Plaintiffs and the other Class members did not discover, and did not

know of, facts that would have caused a reasonable person to suspect that Ford did

not report information within its knowledge to federal and state authorities, its

dealerships, or consumers; nor would a reasonable and diligent investigation have

disclosed that Ford had omitted information about the unreasonable fire risk of the

Fire Defect Vehicles, which was discovered by Plaintiffs only shortly before this

action was filed.

      71.    For these reasons, all applicable statutes of limitation have been tolled

by operation of the discovery rule with respect to claims as to the Fire Defect

Vehicles.

B.    Estoppel

      72.    Ford was under a continuous duty to disclose to Plaintiffs and the

other Class members the true character, quality, and nature of the fire risk of the

Fire Defect Vehicles.

      73.    Ford knowingly, affirmatively, and actively concealed or recklessly

disregarded the true nature, quality, and character of the fire risk of the Fire Defect

Vehicles.




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      74.    Based on the foregoing, Ford is estopped from relying on any statutes

of limitations in defense of this action.

                          VII. CLASS ALLEGATIONS

      75.    Plaintiffs bring this action on behalf of themselves and as a class

action, pursuant to the provisions of Rules 23(a) and (b)(3) of the Federal Rules of

Civil Procedure, on behalf of the following class and subclasses:

             Nationwide Class: All persons or entities who purchased
             or leased model year 2021 Ford Expedition or Lincoln
             Navigator vehicles (the “Fire Defect Vehicles”).

             Florida Subclass: All persons or entities who purchased or
             leased one or more of the Fire Defect Vehicles in the State of
             Florida.

             New York Subclass: All persons or entities who purchased or
             leased one or more of the Fire Defect Vehicles in the State of
             New York.

             North Carolina Subclass: All persons or entities who
             purchased or leased one or more of the Fire Defect Vehicles in
             the State of North Carolina.

      76.    Plaintiffs assert claims under the laws of each state set forth below.

      77.    Excluded from the definitions of each Class and Subclass are any

personal injury or property damages claims resulting from the fires or explosions

caused by the Fire Defect Vehicles. Also excluded from the Class and Subclasses

are Ford and its subsidiaries and affiliates; all persons who make a timely election

to be excluded from this action; governmental entities; the Judge to whom this case




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is assigned and his/her immediate family; and Plaintiffs’ Counsel. Plaintiffs reserve

the right to revise the Class and Subclass definitions based upon information

learned through discovery.

      78.    Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-

wide basis using the same evidence as would be used to prove those elements in

individual actions alleging the same claim.

      79.    This action has been brought and may be properly maintained on

behalf of the Classes and Subclasses proposed herein under Federal Rule of Civil

Procedure 23.

      80.    Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members

of each Class and Subclass are so numerous and geographically dispersed that

individual joinder of all Class members is impracticable. For purposes of this

complaint, Plaintiffs allege that there are estimated to be 39,013 or more Fire

Defect Vehicles in the Nationwide Class. The precise number of Class and

Subclass members is unknown to Plaintiffs but may be ascertained from Ford’s

books and records. Class and Subclass members may be notified of the pendency

of this action by recognized, Court-approved notice dissemination methods, which

may include U.S. Mail, electronic mail, internet postings, and published notice.




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      81.   Commonality and Predominance: Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3): This action involves common questions of law and fact,

which predominate over any questions affecting individual Class and Subclass

members, including, without limitation:

            a.    Whether Ford engaged in the conduct alleged herein;

            b.    Whether the Spontaneous Fire Defect creates an unreasonable
                  risk of fires in the Fire Defect Vehicles;

            c.    When Ford first knew about the Spontaneous Fire Defect;

            d.    Whether Ford designed, manufactured, marketed, and
                  distributed the Fire Defect Vehicles with defective
                  component(s) that cause underhood fire;

            e.    Whether Ford’s conduct renders it liable for breach of the
                  implied warranty of merchantability;

            f.    Whether Ford has been unjustly enriched at the expense of
                  Plaintiffs and the Class and Subclasses;

            g.    Whether Plaintiffs and the other Class and Subclass members
                  overpaid for their vehicles at the point of sale; and

            h.    Whether Plaintiffs and the other Class and Subclass members
                  are entitled to damages and other monetary relief and, if so, in
                  what amount.

      82.   Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’

claims are typical of the other Class and Subclass members’ claims because,

among other things, all Class and Subclass members were comparably injured

through Ford’s wrongful conduct as described above.




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      83.    Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are

adequate Class and Subclass representatives because their interests do not conflict

with the interests of the other members of the Class and Subclasses they seek to

represent; Plaintiffs have retained counsel competent and experienced in complex

class action litigation; and Plaintiffs intend to prosecute this action vigorously. The

Class and Subclasses’ interests will be fairly and adequately protected by Plaintiffs

and their counsel.

      84.    Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action

is superior to any other available means for the fair and efficient adjudication of

this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class and Subclass members are relatively small

compared to the burden and expense that would be required to individually litigate

their claims against Ford, so it would be impracticable for the members of the

Class and Subclasses to individually seek redress for Ford’s wrongful conduct.

Even if Class and Subclass members could afford individual litigation, the court

system could not. Individualized litigation creates a potential for inconsistent or

contradictory judgments and increases the delay and expense to all parties and the

court system. By contrast, the class action device presents far fewer management




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difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court.

                                   VIII. CLAIMS

A.    Nationwide Claims

                                      COUNT I

       VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                     (15 U.S.C. § 2301, et seq.)

            (Alleged by all Plaintiffs on behalf of the Nationwide Class)

      85.     Plaintiffs re-allege and incorporate by reference all paragraphs as

though fully set forth herein.

      86.     Plaintiffs bring this claim on behalf of the Nationwide Class.

      87.     This Court has jurisdiction to decide claims brought under 15 U.S.C.

§ 2301 by virtue of 28 U.S.C. § 1332(a)-(d).

      88.     The Fire Defect Vehicles are “consumer products” within the meaning

of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3). Plaintiffs and

Nationwide Class members are consumers because they are persons entitled under

applicable state law to enforce against the warrantor the obligations of its implied

warranties.

      89.     Ford is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).




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      90.    15 U.S.C. § 2301(d)(1) provides a cause of action for any consumer

who is damaged by the failure of a warrantor to comply with an implied warranty.

      91.    Ford provided Plaintiffs and Nationwide Class members with an

implied warranty of merchantability in connection with the purchase or lease of

their vehicles that is an “implied warranty” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(7). As a part of the implied warranty of

merchantability, Ford warranted that the Fire Defect Vehicles were fit for their

ordinary purpose and would pass without objection in the trade as designed,

manufactured, and marketed, and were adequately contained, packaged, and

labeled.

      92.    Ford breached its implied warranties, as described herein, and is

therefore liable to Plaintiffs under 15 U.S.C. § 2310(d)(1). Without limitation,

the Fire Defect Vehicles share a common defect in that they are all equipped with

a defect in the engine compartment that makes the vehicles susceptible to a risk

of spontaneous fire, causing an unreasonable risk of death, serious bodily harm,

and property damage to owners and lessees of the Fire Defect Vehicles, as well

as an unreasonable risk of damage and harm to their homes or other nearby

property, passengers, and bystanders. The Spontaneous Fire Defect rendered the

Fire Defect Vehicles unmerchantable and unfit for their ordinary use of driving

(and parking and storing when not in use) when they were sold or leased, and at



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all times thereafter. In fact, because of the Spontaneous Fire Defect, Ford

specifically advised owners and lessees to park their vehicles outside and away

from structures.

      93.    As discussed herein, on information and belief, Ford knew or

should have known about the Spontaneous Fire Defect from its own durability

testing of the Fire Defect Vehicles before launching the Fire Defect Vehicles.

Ford omitted information about the Defect and its consequences from Plaintiffs

and Class members, misrepresented the qualities of the Fire Defect Vehicles, and

has failed to provide a fix for the Defect.

      94.    Any effort by Ford to limit the implied warranties in a manner that

would exclude coverage of the Fire Defect Vehicles is unconscionable, and any

such effort to disclaim or otherwise limit such liability is null and void.

      95.    Any limitations Ford might seek to impose on its warranties are

procedurally unconscionable. There was unequal bargaining power between Ford

and Plaintiffs, because, at the time of purchase and lease, Plaintiffs had no other

options for purchasing warranty coverage other than directly from Ford.

      96.    Any limitations Ford might seek to impose on its warranties are

substantively unconscionable. Ford knew or should have known that the Fire

Defect Vehicles were defective and that the Fire Defect Vehicles could

spontaneously ignite when used as intended long before Plaintiffs and the Class.



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Ford failed to disclose this defect to Plaintiffs and the Class. Thus, enforcement of

the durational limitations on the warranties is harsh and would shock the

conscience.

      97.     Plaintiffs have had sufficient direct dealings with either Ford or its

agents (dealerships) to establish privity of contract between Ford and Plaintiffs.

Nonetheless, privity is not required here because Plaintiffs are intended third-party

beneficiaries of contracts between Ford and its dealers, and specifically, of Ford’s

implied warranties. The dealers were not intended to be the ultimate consumers of

the Fire Defect Vehicles and have no rights under the warranty agreements

provided with the Fire Defect Vehicles; the warranty agreements were designed

for and intended to benefit consumers. Finally, privity is also not required because

the Fire Defect Vehicles are dangerous instrumentalities due to the aforementioned

defect, as spontaneous fires present an unreasonable risk of death, serious bodily

harm, and property damage to owners and lessees of the Fire Defect Vehicles as

well as an unreasonable risk of damage and harm to their homes or other nearby

property, passengers, and bystanders.

      98.     Under 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class

action and are not required to give Ford notice and an opportunity to cure until

such time as the Court determines the representative capacity of Plaintiffs

under Rule 23 of the Federal Rules of Civil Procedure.



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      99.    Plaintiffs would suffer economic hardship if they returned their Fire

Defect Vehicles but did not receive the return of all payments made by them.

Because Ford will not acknowledge any revocation of acceptance and immediately

return any payments made, Plaintiffs have not re-accepted their Fire Defect

Vehicles by retaining them.

      100. The amount in controversy of Plaintiffs’ individual claims meets or

exceeds the sum of $25. The amount in controversy of this action exceeds the sum

of $50,000, exclusive of interest and costs, computed based on all claims to be

determined in this lawsuit. Plaintiffs, individually and on behalf of all other

Nationwide Class members, seek all damages permitted by law, including

diminution in value of their vehicles, in an amount to be proven at trial. In addition,

under 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to recover a sum equal to the

aggregate amount of costs and expenses (including attorneys’ fees based on

actual time expended) determined by the Court to have reasonably been incurred by

Plaintiffs and the Nationwide Class members in connection with the

commencement and prosecution of this action.

      101. Plaintiffs also seek the establishment of a Ford-funded program for

Plaintiffs and Nationwide Class members to recover out-of-pocket costs incurred in

attempting to rectify and mitigate the effects of the Spontaneous Fire Defect in

their Fire Defect Vehicles.



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                                      COUNT II

                              UNJUST ENRICHMENT
                                (COMMON LAW)

            (Alleged by all Plaintiffs on behalf of the Nationwide Class)

        102. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

        103. Plaintiffs assert this claim on behalf of themselves and the Nationwide

Class, or, in the alternative, on behalf of the state-specific Subclasses. A

Nationwide Class is appropriate because the elements of unjust enrichment are

uniform in all the states.

        104. This claim is pleaded in the alternative to the contract-based claims

brought on behalf of Plaintiffs and the Nationwide Class.

        105. Ford has received and retained a benefit from Plaintiffs and

Nationwide Class members and inequity has resulted.

        106. Ford has benefitted from selling, leasing, and distributing the Fire

Defect Vehicles for more than they were worth because of Ford’s conduct

described herein, at a profit, and Plaintiffs and Nationwide Subclass members have

overpaid for the Fire Defect Vehicles and been forced to pay other costs.

        107. Thus, Plaintiffs and the Nationwide Subclass conferred a benefit on

Ford.

        108. It is inequitable for Ford to retain these benefits.


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      109. Plaintiffs and the Nationwide Subclass were not aware of the true

facts about the Fire Defect Vehicles and did not benefit from Ford’s conduct

described herein.

      110. Ford knowingly accepted the benefits of its unjust conduct.

      111. As a result of Ford’s conduct, the amount of its unjust enrichment

should be determined in an amount according to proof.

B.    State-Specific Claims

                                    COUNT III

                    VIOLATION OF FLORIDA’S UNFAIR &
                    DECEPTIVE TRADE PRACTICES ACT
                        (FLA. STAT. § 501.201, ET SEQ.)

       (Alleged by Plaintiff Stahlman on behalf of the Florida Subclass)

      112. Plaintiff Stahlman and the Florida Subclass reallege and incorporate

by reference all paragraphs as though fully set forth herein.

      113. Plaintiff Stahlman brings this claim on behalf of herself and the

Florida Subclass.

      114. Plaintiff Stahlman and the Florida Subclass members are

“consumers” within the meaning of the Florida Unfair and Deceptive Trade

Practices Act (“FUDTPA”), FLA. STAT. § 501.203(7).

      115. Ford engaged in “trade or commerce” within the meaning of FLA.

STAT. § 501.203(8).




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      116. The FUDTPA prohibits “[u]nfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce.” FLA. STAT. § 501.204(1).

      117. By omitting the Spontaneous Fire Defect and misleading Plaintiff

Stahlman and the Florida Subclass about the Fire Defect Vehicles, Ford

participated in unfair and deceptive trade acts or practices that violated the

FUDTPA, as described herein.

      118. In the course of its business, Ford violated the FUDTPA and engaged

in deceptive acts or practices with the marketing and sale or lease of the Fire

Defect Vehicles because it misrepresented and omitted material facts concerning

the Fire Defect Vehicles, specifically the existence of the Spontaneous Fire Defect,

as alleged herein. Ford omitted the fact of the Spontaneous Fire Defect from

Plaintiff Stahlman and the Florida Subclass members. Ford also mispresented the

safety, quality, functionality, and reliability of the Fire Defect Vehicles given the

existence of the Spontaneous Fire Defect in them.

      119. Ford’s actions described herein occurred in the conduct of trade or

commerce, specifically the sale or lease of the Fire Defect Vehicles to Plaintiff

Stahlman and the Florida Subclass.

      120. By failing to disclose and omitting the Spontaneous Fire Defect in the

Fire Defect Vehicles, which it marketed as safe, reliable, of high quality, and safe



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for ordinary use, Ford engaged in unfair and deceptive business practices in

violation of the FUDTPA.

      121. The Spontaneous Fire Defect would be material to a reasonable

consumer, such as the Florida Subclass, and is material to Plaintiff Stahlman.

      122. Ford’s deceptive act or practices described herein concerning the

Spontaneous Fire Defect and the Fire Defect Vehicles were likely to deceive or

mislead a reasonable consumer acting reasonably under the circumstances, such as

Plaintiff Stahlman and the Florida Subclass, and did in fact deceive and mislead

Plaintiff Stahlman.

      123. Ford failed to disclose material information about the Spontaneous

Fire Defect and the Fire Defect Vehicles, which Ford possessed and of which

consumers, like Plaintiff Stahlman and the Florida Subclass, were unaware. Ford’s

failure to disclose this material information about the Spontaneous Fire Defect and

the Fire Defect Vehicles was likely to deceive or mislead a reasonable consumer

acting reasonably under the circumstances, such as Plaintiff Stahlman and the

Florida Subclass, and did in fact deceive and mislead Plaintiff Stahlman.

      124. Plaintiff Stahlman could not have discovered the existence of the

Spontaneous Fire Defect, or Ford’s deception and responsibility for the

Spontaneous Fire Defect, until shortly before this class action was commenced.




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      125. Ford knew or should have known that its conduct violated the

FUDTPA.

      126. Ford knew or should have known about the Spontaneous Fire Defect

affecting the Fire Defect Vehicles owned or leased by Plaintiff Stahlman and the

Florida Subclass members based on (i) its own pre-sale durability testing; (ii) the

direct and public reports of fires in sixteen Fire Defect Vehicles; and (iii) Ford’s

own investigation of fires in the Fire Defect Vehicles.

      127. As alleged herein, Ford made material statements about the safety,

functionality, quality, and reliability of the Fire Defect Vehicles that were either

false or misleading.

      128. Ford owed Plaintiff Stahlman and the Florida Subclass a duty to

disclose the true safety and reliability of the Fire Defect Vehicles because Ford:

             a.     Possessed exclusive knowledge about the Spontaneous Fire
                    Defect;

             b.     Omitted the foregoing from Plaintiff Stahlman and the Florida
                    Subclass;

             c.     Made misleading and incomplete representations about the
                    safety, quality, functionality, and reliability of the Fire Defect
                    Vehicles, while withholding material facts from Plaintiff
                    Stahlman and the Florida Subclass that contradicted these
                    representations; and/or

             d.     Had duties under the TREAD Act and related regulations to
                    disclose and remedy the defect.




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        129. Because Ford omitted the Spontaneous Fire Defect, Plaintiff Stahlman

and the Florida Subclass were deprived of the benefit of their bargain since the

vehicles they purchased were worth less than they would have been if they were

free from the Spontaneous Fire Defect. Had Plaintiff Stahlman and the Florida

Subclass been aware of the Spontaneous Fire Defect in their vehicles, they would

have either not have bought their Fire Defect Vehicles or would have paid less for

them.

        130. Ford’s violations of the FUDTPA present a continuing risk to Plaintiff

Stahlman, the Florida Subclass, and the public. In particular and as alleged herein,

Ford has yet to provide a fix for the Spontaneous Fire Defect, or even a timeline

for a fix. Ford has also not instructed consumers to stop driving their vehicles, and

so there is still an ongoing fire risk to those on the road in or around the Fire

Defect Vehicles. Ford’s deceptive and acts and practices complained of herein

affect the public interest.

        131. Ford’s deceptive acts and practices alleged herein directly and

proximately caused actual damages and an ascertainable monetary loss to Plaintiff

Stahlman and the Florida Subclass. Had Plaintiff Stahlman and the Florida

Subclass members known the truth about the Spontaneous Fire Defect they would

not have purchased or leased the vehicles or would have paid significantly less for



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them. Plaintiff Stahlman and the Florida Subclass also suffered ascertainable,

monetary loss in the form of out-of-pocket expenses, loss of use, and lost value

related to the Fire Defect Vehicles.

      132. Because Ford’s deceptive acts and practices caused injury to Plaintiff

Stahlman and the Florida Subclass, they seek and are entitled to recover their

actual damages under FLA. STAT. § 501.211(2) and attorneys’ fees under FLA.

STAT. § 501.2105(1). Plaintiff Stahlman and the Florida Subclass also seek an

order enjoining Ford’s unfair, unlawful, and deceptive practices, declaratory relief,

costs, and any other just and proper relief available under the FUDTPA.

                                       COUNT IV

                 BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY UNDER FLORIDA LAW
                        (Fla. Stat. § 672.314)

       (Alleged by Plaintiff Stahlman on behalf of the Florida Subclass)

      133. Plaintiff Stahlman and the Florida Subclass reallege and incorporate

by reference all paragraphs as though fully set forth herein.

      134. Plaintiff Stahlman brings this claim on behalf of herself and the

Florida Subclass.

      135. Ford is a “merchant” within the meaning of FLA. STAT. § 672.104, and

a “seller” of motor vehicles within the meaning of FLA. STAT. § 672.103(d).




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      136. Under Florida law, an implied warranty of merchantability attaches to

the Fire Defect Vehicles. See FLA. STAT. § 672.314.

      137. The Fire Defect Vehicles were not merchantable when sold or leased

because they are prone to a spontaneous and unreasonable risk of fire due to the

Spontaneous Fire Defect described herein. Without limitation, the Fire Defect

Vehicles share a common defect in that they are all equipped with the same

component(s) in the engine compartment that make the vehicles susceptible to a

risk of spontaneous fire, causing an unreasonable risk of death, serious bodily

harm, and property damage to owners and lessees of the Fire Defect Vehicles as

well as an unreasonable risk of damage and harm to their homes and other

structures, passengers, and bystanders. The Spontaneous Fire Defect renders the

Fire Defect Vehicles unmerchantable and unfit for their ordinary use of driving (and

parking and storing) when sold and leased, and at all times thereafter. Because of

the Spontaneous Fire Defect, Ford specifically advises owners and lessees to park

their vehicles away from structures.

      138. Plaintiff Stahlman and the Florida Subclass members were and are

third-party beneficiaries of Ford’s contracts with Ford-certified/authorized retailers

who sold or leased the Fire Defect Vehicles to Plaintiff Stahlman and the Florida

Subclass members. See FLA. STAT. § 672.318.




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         139. As a direct and proximate result of Ford’s breach of the implied

warranty of merchantability, Plaintiff Stahlman and the Florida Subclass have been

damaged in an amount to be determined at trial.

                                      COUNT V

  VIOLATION OF NEW YORK’S DECEPTIVE ACTS AND PRACTICES
                (N.Y. GEN. BUS. LAW § 349, ET SEQ.)

           (Alleged by Plaintiff Sessler on behalf of the New York Subclass)

         140. Plaintiff Sessler and the New York Subclass reallege and incorporate

by reference all paragraphs as though fully set forth herein.

         141. Plaintiff Sessler brings this action on behalf of himself and the New

York Subclass.

         142. Plaintiff Sessler and the New York Subclass members are “persons”

within the meaning of New York General Business Law (“NYGBL”), N.Y. GEN.

BUS. LAW § 349(h).

         143. Ford is a “person,” “firm,” “corporation,” or “association” within the

meaning of NYGBL Section 349.

         144. NYGBL Section 349 declares unlawful “[d]eceptive acts or practices

in the conduct of any business, trade or commerce, or in the furnishing of any

service in this state ...” Material omissions are also actionable under NYGBL

§ 349.




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      145. By omitting the Spontaneous Fire Defect and misleading Plaintiff

Sessler and the New York Subclass about the Fire Defect Vehicles, Ford’s conduct

described herein constitutes “deceptive acts or practices” within the meaning of the

NYGBL.

      146. In the course of its business, Ford violated NYGBL Section 349 and

engaged in deceptive acts or practices with the marketing and sale or lease of the

Fire Defect Vehicles because it misrepresented and omitted material facts

concerning the Fire Defect Vehicles, specifically the existence of the Spontaneous

Fire Defect, as alleged herein. Ford omitted the fact of the Spontaneous Fire Defect

from Plaintiff Sessler and the New York Subclass members. Ford also

mispresented the safety, quality, functionality, and reliability of the Fire Defect

Vehicles given the existence of the Spontaneous Fire Defect in them.

      147. Ford’s actions described herein occurred in the conduct of trade or

commerce, specifically the sale or lease of the Fire Defect Vehicles to Plaintiff

Sessler and the New York Subclass.

      148. Ford knew or should have known that its conduct violated the

NYGBL.

      149. Ford knew or should have known about the Spontaneous Fire Defect

affecting the Fire Defect Vehicles owned or leased by Plaintiff Sessler and the

New York Subclass members based on (i) its own pre-sale durability testing;



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(ii) the direct and public reports of fires in sixteen Fire Defect Vehicles; and

(iii) Ford’s own investigation of fires in the Fire Defect Vehicles.

      150. The Spontaneous Fire Defect would be material to a reasonable

consumer, such as the New York Subclass, and is material to Plaintiff Sessler.

      151. Ford’s deceptive act or practices described herein concerning the

Spontaneous Fire Defect and the Fire Defect Vehicles were likely to deceive or

mislead a reasonable consumer acting reasonably under the circumstances, such as

Plaintiff Sessler and the New York Subclass, and did in fact deceive and mislead

Plaintiff Sessler.

      152. Ford failed to disclose material information about the Spontaneous

Fire Defect and the Fire Defect Vehicles, which Ford possessed and of which

consumers, like Plaintiff Sessler and the New York Subclass, were unaware.

Ford’s failure to disclose this material information about the Spontaneous Fire

Defect and the Fire Defect Vehicles was likely to deceive or mislead a reasonable

consumer acting reasonably under the circumstances, such as Plaintiff Sessler and

the New York Subclass, and did in fact deceive and mislead Plaintiff Sessler.

      153. Plaintiff Sessler could not have discovered the existence of the

Spontaneous Fire Defect, or Ford’s deception and responsibility for the

Spontaneous Fire Defect, until shortly before this class action was commenced.




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        154. As alleged above, Ford made material statements about the safety,

functionality, quality, and reliability of the Fire Defect Vehicles that were either

false or misleading.

        155. Ford owed Plaintiff Sessler and the New York Subclass a duty to

disclose the true safety and reliability of the Fire Defect Vehicles because Ford:

              a.    Possessed exclusive knowledge about the Spontaneous Fire
                    Defect;

              b.    Omitted the foregoing from Plaintiff Sessler and the New York
                    Subclass;

              c.    Made misleading and incomplete representations about the
                    safety, quality, functionality, and reliability of the Fire Defect
                    Vehicles, while withholding material facts from Plaintiff
                    Sessler and the New York Subclass that contradicted these
                    representations; and/or

              d.    Had duties under the TREAD Act and related regulations to
                    disclose and remedy the defect.

        156. Because Ford omitted the Spontaneous Fire Defect, Plaintiff Sessler

and the New York Subclass were deprived of the benefit of their bargain since the

vehicles they purchased were worth less than they would have been if they were

free from the Spontaneous Fire Defect. Had Plaintiff Sessler and the New York

Subclass been aware of the Spontaneous Fire Defect in their vehicles, they would

have either not have bought their Fire Defect Vehicles or would have paid less for

them.




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      157. Ford’s violations of the NYGBL present a continuing risk to Plaintiff

Sessler, the New York Subclass, and the public. In particular and as alleged herein,

Ford has yet to provide a fix for the Spontaneous Fire Defect, or even a timeline

for a fix. Ford has also not instructed consumers to stop driving their vehicles, and

so there is still an ongoing fire risk to those on the road in or around the Fire

Defect Vehicles. Ford’s deceptive and acts and practices complained of herein

affect the public interest.

      158. Ford’s deceptive acts and practices alleged herein directly and

proximately caused actual damages and an ascertainable monetary loss to Plaintiff

Sessler and the New York Subclass. Had Plaintiff Sessler and the New York

Subclass members known the truth about the Spontaneous Fire Defect they would

not have purchased or leased the vehicles or would have paid significantly less for

them. Plaintiff Sessler and the New York Subclass also suffered ascertainable,

monetary loss in the form of out-of-pocket expenses, loss of use, and lost value

related to the Fire Defect Vehicles.

      159. Because Ford’s deceptive acts and practices caused injury to Plaintiff

Sessler and the New York Subclass, they seek monetary relief against Ford in the

greater amount of actual damages or statutory damages, and reasonable attorneys’

fees and costs. Plaintiff Sessler and the New York Subclass also seek an order




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enjoining Ford’s unlawful practices and any other just and proper relief available

under NYGBL Section 349.

                                      COUNT VI

 VIOLATION OF NEW YORK’S FALSE ADVERTISING ACT (N.Y. GEN.
                     BUS. LAW § 350)

        (Alleged by Plaintiff Sessler on behalf of the New York Subclass)

       160. Plaintiff Sessler and the New York Subclass reallege and incorporate

by reference all paragraphs as though fully set forth herein.

       161. Plaintiff Sessler brings this action on behalf of himself and the New

York Subclass.

       162. Ford was and is engaged in the “conduct of business, trade or

commerce” within the meaning of N.Y. GEN. BUS. LAW § 350.

       163. New York’s General Business Law (“NYGBL”) Section 350 makes

unlawful “[f]alse advertising in the conduct of any business, trade or commerce[.]”

False advertising includes “advertising, including labeling, of a commodity . . . if

such advertising is misleading in a material respect,” taking into account “the

extent to which the advertising fails to reveal facts material in the light of . . .

representations [made] with respect to the commodity. . . .” N.Y. GEN. BUS. LAW

§ 350-a.

       164. Ford caused to be made or disseminated through New York, through

representations, marketing, and other publications, statements that were untrue or


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misleading, and which were known, or which by the exercise of reasonable care

should have been known to Ford, to be untrue and misleading to consumers,

including Plaintiff Sessler and the New York Subclass members.

      165. Ford violated NYGBL Section 350 because it omitted facts regarding

the Spontaneous Fire Defect and misrepresented the safety, quality, functionality,

and reliability of the Fire Defect Vehicles to Plaintiff Sessler and New York

Subclass members, as alleged herein, which were material omissions and

misrepresentations and likely to deceive a reasonable consumer, such as Plaintiff

Sessler and New York Subclass members.

      166. Plaintiff Sessler and the New York Subclass suffered injury, including

the loss of money or property, because of Ford’s false advertising. In purchasing or

leasing their Fire Defect Vehicles, Plaintiff Sessler and the New York Subclass

members relied on Ford’s misrepresentations and omissions regarding the safety,

quality, functionality, and reliability of the Fire Defect Vehicles. Had Plaintiff

Sessler and the New York Subclass members known about the Spontaneous Fire

Defect, they would not have purchased or leased their Fire Defect Vehicles or paid

as much for them. Plaintiff Sessler and the New York Subclass also suffered

ascertainable monetary loss in the form of out-of-pocket expenses, loss of use, and

lost value related to the Fire Defect Vehicles.




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      167. Under NYGBL Section 350, Plaintiff Sessler and the New York

Subclass seek monetary relief against Ford in the greater amount of actual damages

or statutory damages. Plaintiff Sessler and the New York Subclass also seek an

order enjoining Ford’s unlawful practices, attorneys’ fees, costs, and any other just

and proper relief available under NYGBL Section 350.

                                    COUNT VII

          BREACH OF NEW YORK’S IMPLIED WARRANTY OF
          MERCHANTABILITY (N.Y. U.C.C. LAW §§ 2-314; 2A-212)

       (Alleged by Plaintiff Sessler on behalf of the New York Subclass)

      168. Plaintiff Sessler and the New York Subclass reallege and incorporate

by reference all paragraphs as though fully set forth herein.

      169. Plaintiff Sessler brings this action on behalf of himself and the New

York Subclass.

      170. Ford is a “merchant[]” and “seller[]” of motor vehicles, and the Fire

Defect Vehicles are “goods” under New York law. See N.Y. U.C.C. § 2-104(1).

      171. Under N.Y. U.C.C. §§ 2-314; 2A-212, an implied warranty of

merchantability attaches to the Fire Defect Vehicles when they were sold or leased

by Ford to Plaintiff Sessler and the New York Subclass members.

      172. The Fire Defect Vehicles were not merchantable when sold or leased

because they are prone to a spontaneous and unreasonable risk of fire due to the

Spontaneous Fire Defect described herein. Without limitation, the Fire Defect


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Vehicles share a common defect in that they are all equipped with the same

component(s) in the engine compartment that make the vehicles susceptible to a

risk of spontaneous fire, causing an unreasonable risk of death, serious bodily

harm, and property damage to owners and lessees of the Fire Defect Vehicles as

well as an unreasonable risk of damage and harm to their homes and other

structures, passengers, and bystanders. The Spontaneous Fire Defect renders the

Fire Defect Vehicles unmerchantable and unfit for their ordinary use of driving (and

parking and storing) when sold and leased, and at all times thereafter. Because of

the Spontaneous Fire Defect, Ford specifically advises owners and lessees to park

their vehicles away from structures.

      173. Plaintiff Sessler and the New York Subclass were and are third-party

beneficiaries of Ford’s contracts with Ford-certified/authorized retailers who sold

or leased the Fire Defect Vehicles to Plaintiff Sessler and the New York Subclass

members.

      174. As a direct and proximate result of Ford’s breach of the implied

warranty of merchantability, Plaintiff Sessler and the New York Subclass have

been damaged in an amount to be determined at trial.




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                                   COUNT VIII

   VIOLATION OF NORTH CAROLINA’S UNFAIR AND DECEPTIVE
     ACTS AND PRACTICES ACT (N.C. GEN. STAT. § 75-1.1, ET SEQ.)

     (Alleged by Plaintiff Smith on behalf of the North Carolina Subclass)

      175. Plaintiff Smith and the North Carolina Subclass reallege and

incorporate by reference all paragraphs as though fully set forth herein.

      176. Plaintiff Smith brings this action on behalf of himself and the North

Carolina Subclass.

      177. Ford engaged in “commerce” within the meaning of N.C. GEN.

STAT. § 75-1.1(b).

      178. N.C. GEN. STAT. § 75-1.1, et seq. (the “North Carolina Act”) broadly

prohibits “unfair or deceptive acts or practices in or affecting commerce.” As

alleged herein, Ford committed unfair or deceptive acts or practices in violation of

the North Carolina Act.

      179. In the course of its business, Ford violated the North Carolina Act and

engaged in unfair and deceptive acts or practices with the marketing and sale or

lease of the Fire Defect Vehicles because it misrepresented and omitted material

facts concerning the Fire Defect Vehicles, specifically the existence of the

Spontaneous Fire Defect, as alleged herein. Ford omitted the fact of the

Spontaneous Fire Defect from Plaintiff Smith and the North Carolina Subclass

members. Ford also mispresented the safety, quality, functionality, and reliability


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of the Fire Defect Vehicles given the existence of the Spontaneous Fire Defect in

them.

        180. Ford’s actions described herein occurred in the conduct of trade or

commerce, specifically the sale or lease of the Fire Defect Vehicles to Plaintiff

Smith and the North Carolina Subclass.

        181. By failing to disclose and omitting the Spontaneous Fire Defect in the

Fire Defect Vehicles, which it marketed as safe, reliable, of high quality, and safe

for ordinary use, Ford engaged in unfair and deceptive business practices in

violation of the North Carolina Act.

        182. The Spontaneous Fire Defect would be material to a reasonable

consumer, such as the North Carolina Subclass, and is material to Plaintiff Smith.

        183. Ford’s deceptive act or practices described herein concerning the

Spontaneous Fire Defect and the Fire Defect Vehicles were likely to deceive or

mislead a reasonable consumer acting reasonably under the circumstances, such as

Plaintiff Smith and the North Carolina Subclass, and did in fact deceive and

mislead Plaintiff Smith.

        184. Ford failed to disclose material information about the Spontaneous

Fire Defect and the Fire Defect Vehicles, which Ford possessed and of which

consumers, like Plaintiff Smith and the North Carolina Subclass, were unaware.

Ford’s failure to disclose this material information about the Spontaneous Fire



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Defect and the Fire Defect Vehicles was likely to deceive or mislead a reasonable

consumer acting reasonably under the circumstances, such as Plaintiff Smith and

the North Carolina Subclass, and did in fact deceive and mislead Plaintiff Smith.

      185. Plaintiff Smith could not have discovered the existence of the

Spontaneous Fire Defect, or Ford’s deception and responsibility for the

Spontaneous Fire Defect, until shortly before this class action was commenced.

      186. Ford knew or should have known that its conduct violated the North

Carolina Act.

      187. Ford knew or should have known about the Spontaneous Fire Defect

affecting the Fire Defect Vehicles owned or leased by Plaintiff Smith and the

North Carolina Subclass members based on (i) its own pre-sale durability testing;

(ii) the direct and public reports of fires in sixteen Fire Defect Vehicles; and (iii)

Ford’s own investigation of fires in the Fire Defect Vehicles.

      188. As alleged herein, Ford made material statements about the safety,

functionality, quality, and reliability of the Fire Defect Vehicles that were either

false or misleading.

      189. Ford owed Plaintiff Smith and the North Carolina Subclass a duty to

disclose the true safety and reliability of the Fire Defect Vehicles because Ford:

             a.     Possessed exclusive knowledge about the Spontaneous Fire
                    Defect;




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             b.       Omitted the foregoing from Plaintiff Smith and the North
                      Carolina Subclass;

             c.       Made misleading and incomplete representations about the
                      safety, quality, functionality, and reliability of the Fire Defect
                      Vehicles, while withholding material facts from Plaintiff Smith
                      and the North Carolina Subclass that contradicted these
                      representations; and/or

             d.       Had duties under the TREAD Act and related regulations to
                      disclose and remedy the defect.

      190. Because Ford omitted the Spontaneous Fire Defect, Plaintiff Smith

and the North Carolina Subclass were deprived of the benefit of their bargain since

the vehicles they purchased were worth less than they would have been if they

were free from the Spontaneous Fire Defect. Had Plaintiff Smith and the North

Carolina Subclass been aware of the Spontaneous Fire Defect in their vehicles,

they would have either not have bought their Fire Defect Vehicles or would have

paid less for them.

      191. Ford’s violations of the North Carolina Act present a continuing risk

to Plaintiff Smith, the North Carolina Subclass, and the public. In particular and as

alleged herein, Ford has yet to provide a fix for the Spontaneous Fire Defect, or

even a timeline for a fix. Ford has also not instructed consumers to stop driving

their vehicles, and so there is still an ongoing fire risk to those on the road in or

around the Fire Defect Vehicles. Ford’s deceptive and acts and practices

complained of herein affect the public interest.




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      192. Ford’s deceptive acts and practices alleged herein directly and

proximately caused actual damages and an ascertainable monetary loss to Plaintiff

Smith and the North Carolina Subclass. Had Plaintiff Smith and the North Carolina

Subclass members known the truth about the Spontaneous Fire Defect they would

not have purchased or leased the vehicles or would have paid significantly less for

them. Plaintiff Smith and the North Carolina Subclass also suffered ascertainable,

monetary loss in the form of out-of-pocket expenses, loss of use, and lost value

related to the Fire Defect Vehicles.

      193. Because Ford’s deceptive acts and practices caused injury to Plaintiff

Smith and the North Carolina Subclass, they seek an order for treble their actual

damages, an order enjoining Ford’s unlawful acts, costs, attorney’s fees, and any

other just and proper relief available under the North Carolina Act.

                                       COUNT IX

     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                  (N.C. GEN. STAT. § 25-2-314)

      (Alleged by Plaintiff Smith on behalf of the North Carolina Subclass)

      194. Plaintiff Smith and the North Carolina Subclass reallege and

incorporate by reference all paragraphs as though fully set forth herein.

      195. Plaintiff Smith brings this action on behalf of himself and the North

Carolina Subclass.




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      196. Ford is a merchant with respect to motor vehicles within the meaning

of N.C. GEN. STAT. § 25-2-104(1).

      197. Under N.C. GEN. STAT. § 25-2-314, a warranty that the Fire Defect

Vehicles were in merchantable condition was implied by law in the transactions

when Plaintiff Smith and the North Carolina Subclass purchased or leased their

Fire Defect Vehicles from Ford.

      198. The Fire Defect Vehicles were not merchantable when sold or leased

because they are prone to a spontaneous and unreasonable risk of fire due to the

Spontaneous Fire Defect described herein. Without limitation, the Fire Defect

Vehicles share a common defect in that they are all equipped with the same

component(s) in the engine compartment that make the vehicles susceptible to a

risk of spontaneous fire, causing an unreasonable risk of death, serious bodily

harm, and property damage to owners and lessees of the Fire Defect Vehicles as

well as an unreasonable risk of damage and harm to their homes and other

structures, passengers, and bystanders. The Spontaneous Fire Defect renders the

Fire Defect Vehicles unmerchantable and unfit for their ordinary use of driving (and

parking and storing) when sold and leased, and at all times thereafter. Because of

the Spontaneous Fire Defect, Ford specifically advises owners and lessees to park

their vehicles away from structures.




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         199. Plaintiff Smith and the North Carolina Subclass were and are third-

party beneficiaries of Ford’s contracts with Ford-certified/authorized retailers who

sold or leased the Fire Defect Vehicles to Plaintiff Smith and the North Carolina

Subclass members.

         200. As a direct and proximate result of Ford’s breach of the implied

warranty of merchantability, Plaintiff Smith and the North Carolina Subclass have

been damaged in an amount to be determined at trial.

                              REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of members of the

Class and Subclasses, respectfully request that the Court enter judgment in their

favor and against Ford, as follows:

         A.    Certification of the proposed Nationwide and State Subclasses,

including appointment of Plaintiffs’ counsel as Class Counsel;

         B.    Restitution, including at the election of Class and Subclass members,

recovery of the purchase price of their Fire Defect Vehicles, or the overpayment

for their vehicles;

         C.    Damages, costs, and disgorgement in an amount to be determined at

trial;

         D.    An order requiring Ford to pay both pre- and post-judgment interest

on any amounts awarded;



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     E.    An award of costs and attorneys’ fees; and

     F.    Such other or further relief as may be appropriate.

                        DEMAND FOR JURY TRIAL

     Plaintiffs hereby demand a jury trial for all claims so triable.


DATED: June 7, 2022                    Respectfully Submitted,

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